214 F.2d 351
    Opal Henrietta SIMMINGTON, Appellant,v.UNITED STATES of America.
    No. 15106.
    United States Court of Appeals Eighth Circuit.
    June 30, 1954.
    
      1
      Appeal from the United States District Court for the Western District of Arkansas.
    
    
      2
      Ben Shaver and Boyd Tackett, Texarkana, Ark., for appellant.
    
    
      3
      Charles W. Atkinson, U.S. Atty., Fort Smith, Ark., for appellant.
    
    
      4
      Appeal from District Court dismissed, without taxation of costs in favor of either of the parties, on stipulation of counsel.
    
    